                                                                       U.S.              r
                                                                                         (

                    IN THE UNITED STATES DISTRICT COURf
                                                      ' • • ^■ V■ "                       'j




                       FOR THE DISTRICT OF WYOMING                    "                 07
                                                                                       r' :• t



 UNITED STATES OF AMERICA,

              Plaintiff,

       vs.                                             Case No. 2:03-CR-0061-SWS

 HERIBERTO GARCIA-RODRIGUEZ,


              Defendant.




        ORDER DENYING MOTION FOR COMPASSIONATE RELEASE



      This matter comes before the Court on Defendant's pro se Motion for Sentence

Reduction Under 18 U.S.C.§3582(c)(1)(A)(ECF No. 135). The Court, having considered

the briefs and materials submitted in support ofthe motion and the United States' response

in opposition thereto(ECF No. 143), and being otherwise fully advised,FINDS the motion

should be denied.


                                     Background


      On February 16,2003, Defendant was arrested after he had been stopped on 1-80 in

Laramie County, Wyoming while in possession of about 16 pounds of methamphetamine.

(Presentence Investigation Report ("PSR") at 6.) He was subsequently indicted for

possession with intent to distribute methamphetamine in violation of 21 U.S.C. §§

841(a)(1)and (b)(1)(A)(viii). (ECF No. 1.) Additionally, because oftwo prior drug felony

convictions in California, the United States filed an information pursuant to 21 U.S.C. §
 851 notifying Defendant of the government's intention to seek a mandatory life sentence

 if he was convicted ofthe charges.' (ECF No. 32.)

         On January 9,2004,a jury convicted Defendant ofthe sole charge in the indictment.

(See Verdict, ECF No. 58.) As a result, a U.S. Probation Officer prepared a PSR which

 determined the Defendant's sentencing range under the federal Sentencing Guidelines. In

 that regard, the PSR found the Defendant's base offense level was 36 due to his possession

 of 7.5 kilograms of methamphetamine. (PSR T| 12.) That was also his total offense level

 under the drug trafficking guidelines. (Id. at 7-8.) However, because he was determined

to be a career offender. Defendant's total offense level was enhanced to 37. (Id. U 20.)

         The PSR also considered Defendant's criminal history. In addition to his two prior

 drug felony convictions noted above. Defendant had two prior countable convictions from

 Long Beach, California for driving while under the influence. (Id. ^ 24, 25.) These

 convictions yielded a criminal history score of nine, to which two additional points were

 added because he committed his offense in this case while still subject to a prior criminal

justice sentence, i.e. a term of probation imposed in 2000 for his heroin trafficking offense

that year. (Id. t 28.) All of that resulted in a total of 11 criminal history points, placing

 him in Criminal History Category V. (Id.) However, because he was otherwise qualified

 as a career offender under U.S.S.G. § 4Bl.l(a) and (b)(A), Defendant's Criminal History

 Category was instead VI. (Id.)




'The Defendant's two qualifying drug felony convictions were a 1992 conviction in Fresno County, California for
unlawfully selling cocaine, and a 2000 conviction in Long Beach, California for possessing heroin for sale. (See PSR
111123,27.)

                                                   Page 2 of 15
       Based on these determinations, the Defendant's guideline range was 360 months to

life imprisonment; however, Defendant was subject by statute to mandatory life sentence.

(PSRin|42,43.)

       Because Defendant declined to be interviewed in connection with the PSR, the

probation officer provided information about Defendant's personal circumstances obtained

from a previous presentence report prepared in 1992 by state probation authorities in

Fresno, California. (PSR K 32.) Defendant was bom on June 25, 1966 in Michoacan,

Mexico. {Id. ^ 33.) He was the seventh of nine children, with five brothers and three

sisters. (Id.) At the time ofthe 1992 state court PSR, all but one of his siblings resided in

Mexico, as did his mother. (Id.) Defendant's presence in the United States was not lawful.

(Id. ^ 34.) He had been married as of 1992 and had one child, who was reportedly living

with his mother. (Id.135.) Also, at least as of 1992, Defendant did not appear to have any

substance abuse issues. (Id. H 38.)

       Defendant appeared for sentencing on April 16, 2004. (EOF No. 71.) As required

by 21 U.S.C. §§ 841(b)(1)(A) and 851 at that time. Defendant was sentenced to a

mandatory term of life imprisonment. (ECF No. 75.)

      He appealed his conviction and sentence, but both were affirmed by the court of

appeals in 2005. United States v. Garcia-Rodhguez, 127 F. App'x 440 (10th Cir. 2005).

Between August of2007 and September of 2014, Defendant filed three motions attacking

his conviction and sentence under 28 U.S.C. § 2255. (See ECF Nos. 103, 120, 123.) The

court of appeals affirmed the Court's denial or dismissal of each of his § 2255 motions.

(See ECF Nos. 104, 118, 121, 124; United States v. Garcia-Rodriguez, 516 F. App'x 704

                                         Page 3 of 15
(Mem.)(10th Cir. June 19, 2013)(unpublished); United States v. Garcia-Rodriguez, 605

F. App'x 765(Mem.)(10th Cir. May 22,2015)(unpublished).) Next, on October 5,2015,

Defendant filed a motion for relief alleging "Fraud on the Court" related to his traffic stop

and the eventual discovery of the methamphetamine he was carrying. (ECF No. 128.)

Again, the court dismissed his motion as an unauthorized second or successive § 2255

motion over which it could not exercise jurisdiction. (ECF No. 132.)

       Finally, on April 28,2016, Defendant filed a motion with the court ofappeals under

28 U.S.C. §§ 2244 and 2255(h) seeking permission to challenge his life sentenced based

on the Supreme Court's then-recent decision in Johnson v. United States, SI6 U.S. 591

(2015). (ECF No. 133.) The court of appeals denied authorization, finding the holding in

Johnson is irrelevant to Defendant's life sentence. {See ECF No. 134.)

       On August 10, 2020, Defendant submitted a compassionate release request to his

warden. (ECF No. 140-2.) The warden denied Defendant's request on August 25, 2020.

(ECF No. 140-3.) Defendant filed his compassionate release motion in this Court on

October 19, 2021.      Defendant asserts the following extraordinary and compelling

circumstances support his request: (1)his life sentence is disproportionately longer than it

would be today by virtue of the First Step Act; (2) he has a "remarkable record of

rehabilitation" during the 18'A years he has served in prison;(3) he is needed to serve as

an additional caregiver to his "ailing" mother who purportedly has a number of medical

issues; and (4)his exposure to COVID-19. (Mot. at 3-4.)

       Defendant is presently 55 years old, suffers from high blood pressure(hypertension)

and high cholesterol (hyperlipidemia), and falls in the "obese" category. (ECF No. 135 at

                                         Page 4 of 15
10, 14.) While obesity increases one's risk of severe illness from COVID-19,^ BOP's

records indicate Defendant has been fully vaccinated against COVID-19, having received

the two-dose Pfizer regimen on March 22, 2021 and April 13, 2021. (ECF No. 139-2.)

Defendant's BOP disciplinary record shows his last reported infraction occurred in June of

2011 and involved only an abuse of telephone privileges. (ECF No. 140-1.)

         Regarding his mother. Defendant reports his mother is elderly and suffers from a

host of medical issues, including diabetes, high blood pressure, a prothesis, and a

pacemaker. (Mot. at 4.) Although his mother lives with his two sisters. Defendant claims

he is the "only available child who can aide his mother" because both his sisters work full

time. (Id.) As for his proposed "release plan," Defendant indicates he would live with his

wife and children in Uruapan, and he will be employed in his sibling's mango and avocado

orchards.^ (Id. at 6-7.)

                                              Legal Standard


        "A district court does not have inherent authority to modify a previously imposed

sentence; it may do so only pursuant to statutory authorization." United States v. Smartt,

129 F.3d 539, 540 (10th Cir. 1997). See also Dillon v. U.S., 560 U.S. 817, 819 (2010);

United States v. White, 765 F.3d 1240, 1244 (10th Cir. 2014) ("[a] district court is

authorized to modify a Defendant's sentence only in specified instances where Congress

has expressly granted the courtjurisdiction to do so")(internal quotation marks and citation

omitted). Congress provided such authorization in 18 U.S.C. § 3582(c), which permits a


^ See https://www.cdc.gov/coronavirus/2019-ncov/need-extra-precautlons/people-with-niedical-conditions.htmI.
^ As the government points out. Defendant does not explain how he would work in the orchards while at the same
time providing care to his mother during the day when his sisters are at work.

                                                    Page 5 of 15
district court to reduce a defendant's term of imprisonment in specified circumstances,

including so-called "compassionate release" under § 3582(c)(1)(A).

        An inmate seeking compassionate release under § 3582(c)(1)(A) has the burden to

show the statute authorizes a reduction of his or her sentence. See United States v. Jones,

836 F.3d 896,899(8th Cir. 2016)(defendant bears burden of demonstrating entitlement to

relief under § 3582(c)(2)); United States v. Saldana, 807 F. App'x 816, 820 (10th Cir.

2020)(movant required to show § 3582(c) authorizes relief); United States v. Pullen, No.

98-40080-01-JAR, 2020 WL 4049899, at *2 (D. Kan. July 20, 2020) ("defendant

requesting compassionate release bears the burden of establishing that compassionate

release is warranted under the statute"). Under § 3582(c)(l)(A)(i), a district court may

reduce a term of imprisonment upon motion of a defendant who has exhausted his

administrative rights'^ where three requirements are met: "(1) the district court finds that

extraordinary and compelling reasons warrant such a reduction;(2)the district court finds

that such a reduction is consistent with applicable policy statements issued by the

Sentencing Commission; and (3) the district court considers the factors set forth in §

3553(a), to the extent that they are applicable." United States v. McGee, 992 F.3d 1035,

1042(10th Cir. 2021).

        In McGee, the Tenth Circuit adopted a three-step test used by the Sixth Circuit to

determine whether a motion for a reduction in sentence under § 3582(c)(l)(A)(i) can be



* A court may consider a request for compassionate release only upon motion of the BOP,"or upon motion of the
defendant after the defendant has fully exhausted all administrative rights to appeal a failure ofthe[BOP]to bring a
motion on the defendant's behalf or the lapse of 30 days from the receipt of such a request by the warden of the
defendant's facility, whichever is earlier[.]'' 18 U.S.C. § 3582(c)(1)(A)(emphasis added).

                                                   Page 6 of 15
granted:(1) determine whether "extraordinary and compelling circumstances" warrant a

sentence reduction,(2) find whether such reduction is consistent with applicable policy

statements, and (3) consider any applicable § 3553(a) factors and "determine whether, in

its discretion, the reduction authorized by steps one and two is warranted in whole or in

part under the particular circumstances ofthe case."See id. at 1042-43(citing United States

V. Jones,980 F.3d 1098, 1107-08(6th Cir. 2020)). The McGee court definitively found the

district courts are not bound by U.S.S.G.§ IB 1.13 and its related comments,as these policy

statements are not applicable to a defendant's motion for relief under § 3582(c)(1)(A). See

id. at 1050. Ultimately,"[b]ecause Guideline § IB 1.13 is not'applicable' to compassionate

release motions brought by defendants. Application Note 1(D) cannot constrain district

courts' discretion to consider whether any reasons are extraordinary and compelling." Id.

(quoting United States v. Brooker,976 F.3d 228, 236(2d. Cir. 2020)).

        Under this interpretation, district courts have more discretion to consider reasons

which might reach the "extraordinary and compelling" threshold to justify early release.

Ofnote, while the Tenth Circuit has determined U.S.S.G. § IB 1.13 is no longer applicable

to defendant-filed motions under § 3582(c)(1)(A), it has not indicated which,if any, policy

statements are applicable.^ The Tenth Circuit also adopted the Sixth Circuit's position that

district courts may deny a compassionate release motion under § 3582(c)(1)(A) if any of

the three requirements are not met, leaving no need to address the remaining requirements.



^ Judge Tymkovich in United States v. Maumau highlights this point in his concurring opinion, explaining, "[u]ntil
the Sentencing Commission updates its guidance, there is no 'applicable policy statement' . .. that constrains the
district court's discretion to consider whether a defendant-filed motion satisfies the 'extraordinary and compelling'
standard." 993 F.3d 821,838(10th Cir. 2021)(emphasis added).

                                                    Page 7 of 15
Id. at 1043 (citing United States v. Ellas, 984 F.3d 516, 519 (6th Cir. 2021)). See also

United States v. Hald, 8 F.4th 932,941-47(10th Cir. 2021).

                                          Discussion


       In support of his motion. Defendant points to four circumstances which he asserts

constitute extraordinary and compelling reasons for a sentence reduction. First, he asserts

his life sentence was "unusually long" compared to what a person convicted of the same

crime would receive today. (Mot. at 3-4.) Under McGee and Maumau, the Court can

properly consider this circumstance when evaluating a motion under § 3582(c)(l)(A)(i);

however, such a circumstance does not automatically qualify as an "extraordinary and

compelling reason" for compassionate release. McGee set forth an important limitation on

a district court's exercise of discretion in this area:

       [T]he fact a defendant is serving a pre-First Step Act mandatory life sentence
       imposed under § 841(b)(1)(A) cannot, standing alone, serve as the basis for
       a sentence reduction under § 3582(c)(l)(A)(i). Instead,... it can only be the
       combination ofsuch a sentence and a defendant's unique circumstances that
       constitute "extraordinary and compelling reasons" for purposes of §
       3582(c)(l)(A)(i).

992 F.3d at 1048. Thus, a prisoner must do more than simply point to the length of his

sentence; he must additionally point to some individualized circumstances that would

warrant a sentence reduction. In Maumau, for example, the defendant was released early

not merely because of his extraordinarily long sentence under 18 U.S.C. § 924(c); rather,

"the district court's decision indicates that its finding of 'extraordinary and compelling

reasons' was based on its individualized review of all the circumstances of Maumau's case




                                           Page 8 of 15
and its conclusion 'that a combination offactors' warranted reliefl.]" 993 F.3d at 837. In

his concurring opinion in Maumau, Judge Tymkovich emphasized:

        [T]he imposition of a sentence that was not only permissible but statutorily
        required at the time is neither an extraordinary nor a compelling reason to
        now reduce that same sentence. Instead, a district court may consider the
        legislative change to [18 U.S.C. § 924(c)'s] stacking provision only in the
         context of an individualized review of a movant's circumstances.

         Cases in which those circumstances warrant a finding of"extraordinary and
         compelling reasons" should be relatively rare.

993 F.3d at 838(Tymkovich, C.J., concurring)(citation omitted).

         The United States concedes, were Defendant sentenced today for the same crime

and with the same criminal history, he would not be subject to a mandatory life sentence.

(Gov't Resp. Br. at 10.) The United States represents that, as a result ofthe First Step Act,

and assuming his two prior drug felony convictions also counted as "serious drug offenses"

(and the government admits it is debatable whether his 2000 heroin conviction would

count), his statutory minimum would have been only 25 years, not life. (Id.) And if only

his first 1992 conviction counted. Defendant's minimum would have been only 15 years

imprisonment.

         But there is more to the story. Mandatory minimums aside. Defendant was also a

career offender under the Sentencing Guidelines, with a recommended sentencing range of

360 months to life imprisonment. (See PSR TIH 28,43.) The First Step Act would not have

changed that determination.^ Defendant has not suggested the existence of any factors



^ Under U.S.S.G. § 4B 1.1(b), the statutory maximum of the Defendant's crime remained life imprisonment under 21
U.S.C. § 841(b)(1)(A), and nothing in the intervening last 18 years has altered the criteria for career offenders under
§4Bl.l(a).

                                                     Page 9 of 15
which might have induced the Court to grant him a sentence below the bottom of the

advisory guideline range. Thus, while today he would not have been subject to a mandatory

life sentence. Defendant's advisory guideline range would have included a life sentence

and, in any event, likely would have been subject to a 30-year guideline sentence. Given

he has served a total of 18 years, releasing him now would constitute a 10+ year variance

under the advisory guideline range.

      Defendant's individualized circumstances are not sufficient to bring his motion

within the umbrella ofMaumau. Unlike in Maumau,Defendant was not a young man with

a relatively clean record when he was sentenced; rather. Defendant was a 37-year-old man

who had compiled a significant criminal record as a committed drug trafficker. (See PSR

at 8-10.) And unlike the defendant in Maumau, he wasn't given a sentence plainly out of

balance with any co-defendants/co-conspirators. See Maumau, 993 F.3d at 829 (noting

Maumau's sentence - even if released immediately - would be substantially more severe

than co-defendants who received favorable plea deals). Defendant had no co-defendants.

Nor, unlike Maumau, was the Defendant's actual sentence necessarily far out of line with

what he might have received had he accepted the government's plea offer. In Maumau,

the defendant was offered a plea deal which contemplated he would receive a 10-year

sentence, which was significantly less than the 55-year sentence he ultimately received.

Id. at 826,829. By the time Maumau had filed his § 3582(c)motion, he had already served

the equivalent ofa 12-year sentence, counting good time-an amount that plainly exceeded

what the government had offered. Id. at 829.



                                       Page 10 of 15
       The Court agrees with the United States that Defendant's case is not analogous to

Maumau. Though he has been in prison over 18 years, the government's plea offer, which

Defendant initially accepted but then rejected, differed from his ultimate sentencing only

in that the government agreed to recommend a reduction of up to three offense levels to

reflect Defendant's acceptance of responsibility. (PSR at 5; EOF Nos. 21, 24.) But even

so. Defendant still would have been sentenced under the career offender guidelines, and so

his guideline sentencing range would have been based on a total offense level of34(37-3;

see U.S.S.G. § 4B 1.1(b)) and Criminal History Category VI. The range provided for by

that calculation was 262-327 months imprisonment(U.S.S.G. Sent. Table). Thus, unlike

in Maumau,the Defendant's best case, plea agreement sentencing range of about 22 to 27

years still exceeds the time he has served to date.

       Defendant's proffered individual circumstances, even when combined with the

disparity between the sentence he received and what he would receive if sentenced today,

do not constitute extraordinary and compelling reasons for early release. Defendant claims

to have achieved a "remarkable record of rehabilitation" during his time in prison; the

Court,however,finds his lack ofrecent disciplinary infractions and completion of"Spanish

as a Second Language" and a couple of "leatherwork" classes commendable, but not

extraordinary or compelling. Moreover, absent truly unique or exceptional circumstances,

rehabilitation is not a factor favored under the governing laws with respect to

compassionate release motions. See 28 U.S.C. § 994(t); United States v. Mora, No. 98-

CR-108-SWS,2021 WL 2407913, at *6(D. Wyo. May 27, 2021).



                                         Page 11 of 15
       Defendant also point to the needs of his elderly mother, for whom he would serve

as an additional caregiver should he be released early. But, Defendant doesn't show why

other family members living in the same place as his mother, such as his other siblings,

and apparently his wife and children, couldn't assist in his mother's care while his sisters

- reportedly his mother's primary caregivers - are at work. According to his PSR,

Defendant had seven siblings living in Mexico. (PSR T| 33.) Defendant doesn't explain or

substantiate why, given the information about his family in the record, his assistance as a

caregiver is critical for the well-being of his mother. And that is especially so given that,

in his papers, he says he will, upon release, be employed in mango and avocado orchards

owned by a sibling. How he can be employed fiill time and also provide caregiving to his

mother while his sisters are at work is neither explained nor substantiated.

       Finally, nothing about Defendant's current health situation supplies a reason for

granting him early release. Before the availability of vaccines to federal inmates, the

Government would concede the existence of "extraordinary and compelling reasons" for

early release if an inmate had a chronic health condition that increased his risk of severe

illness from COVID-19, and if the inmate had neither received nor refused a COVID-19

vaccine. However, following the BOP's vaccination efforts, the Government no longer

makes such a concession. "A prisoner who can show that he is unable to receive or benefit

from a vaccine still may turn to [§ 3582(c)(1)(A)], but, for the vast majority of prisoners,

the availability of a vaccine makes it impossible to conclude that the risk of COVID-19 is

an 'extraordinary and compelling' reason for immediate release."           United States v.

Broadfleld, 5 F.4th 801, 803 (7th Cir. 2021). See also United States v. Lemons, 15 F.4th

                                        Page 12 of 15
747, 751 (6th Cir. 2021) (inmate's access to COVID-19 vaccine "substantially

undermines" request for sentence reduction). To be sure, the vaccines are not 100%

effective. But according to the CDC,"[t]he COVID-19 vaccines approved or authorized

in the United States are highly effective at preventing severe disease and death, including

against the Delta variant." See Ctrs. for Disease Control & Prevention, Infections and

Spread,         https://www.cdc.gOv/coronavirus/2019-nCoV//variants/delta-variant.html

(updated Aug. 26, 2021).

      In this case. Defendant has not shown the virus represents an "extraordinary and

compelling reason" for compassionate release, even combined with his sentence disparity.

While he does present with some medical issues that could be problematic should he

actually contract COVID-19 {i.e., obesity, hypertension). Defendant is now fully

vaccinated. Moreover, as some courts have noted, certain risk factors identified by the

CDC, such as obesity, hypertension, or high cholesterol, are too "commonplace" to

constitute extraordinary and compelling reasons for a sentence reduction. See United

States V. Avalos, 856 F. App'x 199, 205 n.4(10th Cir. 2021)(citations omitted).

      Because Defendant has not established the existence of any extraordinary and

compelling circumstances justifying a sentence reduction, the Court need not address how

a consideration ofthe § 3553(a)factors might affect the balance in his case. McGee,992

F.3d at 1043. Nevertheless, a review ofthose factors further supports denial ofDefendant's

motion even had he otherwise established extraordinary and compelling reasons.

      Under § 3553(a)(1), a court must "consider ... the nature and circumstances ofthe

offense and the history and characteristics of the defendant." Under § 3553(a)(2)(A), a

                                        Page 13 of 15
court must also "consider...the need for the sentence imposed...to reflect the seriousness

of the offense, to promote respect for the law, and to provide just punishment for the

offense." And under § 3553(a)(2)(B),(C)and (D), a court must "consider ... the need ..

. to afford adequate deterrence to criminal conduct[,] . .. protect the public from further

crimes of the defendant[,] and . . . provide the defendant with needed educational or

vocational training, medical care, or other correctional treatment in the most effective

manner." Moreover, under § 3553(a)(4),a court must consider applicable provisions under

the advisory Guidelines, and under § 3553(a)(6), a court must "consider ... the need to

avoid unwarranted sentence disparities among defendants with similar records who have

been found guilty ofsimilar conduct[.]"

       First, unlike, for example, the defendant in Maumau, the Defendant here was not a

relative youth with an unblemished prior criminal record. He was 37 years old when he

committed his offense in this case, and he had already committed two prior drug felonies.

The total quantity of methamphetamine he was transporting (I6I/2 pounds)- at least by

2003 standards - was quite significant and well over the 500 grams threshold needed to

trigger § 84i(b)(l)(A)'s mandatory minimum. (PSR at 4-6.) Even were the Defendant

convicted of this offense today, his guideline range would be 360 months to life

imprisonment. Thus,the bottom ofthat range is still a dozen years more than the Defendant

has served thus far. And there is nothing about the Defendant personally, or about the

circumstances of his case, that could justify such a variance. The other § 3553(a) factors

weigh neither in favor nor against Defendant's motion. So,to the extent the factors weigh

one way or the other, they clearly weight against a sentence reduction.

                                        Page 14 of 15
                                     Conclusion


      Defendant has not shown any individualized circumstances sufficient to elevate his

case into the category of extraordinary and compelling. Because of that, and also because

consideration ofthe § 3553(a) factors likewise does not favor his motion, his motion must

be denied. THEREFORE, it is hereby

      ORDERED that Defendant's Motion for Sentence Reduction Under 18 U.S.C. §

3582(c)(1)(A)(EOF No. 135) is DENIED.


      Dated this   0    day of April, 2022.




                                   cott W. Skavdahl
                                  United States District Judge




                                       Page 15 of 15
